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 How Florida spread oxy across half of America
 By Pat Beall / The Palm Beach Post
 Posted Jul 8, 2018 at 12:01 AM
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 Reliably red on the political map, Huntington is a West Virginia town with a 191-year-old
 university, a storied football team and more than 100 churches.

 It’s where Will Lockwood graduated from high school. It’s where he enrolled at Marshall
 University.

 It’s where he first tried OxyContin.

 By the time Lockwood entered Marshall as a freshman, Detroit dealers were trickling into
 Huntington selling OxyContin and pills with OxyContin’s active ingredient, oxycodone.

 Even though Lockwood could step out his front door and get the drug, Detroit street dealers
 weren’t the preferred supplier.

 Florida was.

 It may be 1,000 miles away, but to Lockwood, getting OxyContin and oxycodone from
 Florida’s loosely regulated pain clinics “was legal, in a sense.”

 Twice a month, different “crews” from the tiny town crowded into vans and headed south,
 where Palm Beach and Broward counties were home to hundreds of pill mills — clinics where
 anyone with a fake ache and hard cash could walk out with pills and prescriptions.

 After hitting a string of clinics, the Huntington crews drove back with “around 500 to 600 pills
 per person,” said Lockwood.

 But it wasn’t just a few hundred pills. It was tens of thousands.

 And it wasn’t just Huntington.




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 The West Virginia vans were part of a nationwide caravan heading to South Florida. Cars
 bearing tags from Kentucky, Tennessee, the Carolinas, Virginia and Ohio crowded into one
 clinic parking lot after another, loading up on pills and prescriptions.

 News stories and law enforcement focused on those “parking lot” states in Appalachia, where
 dealers and addicts with a tank of gas or a cheap plane ticket traveled the “Oxy Express” to Palm
 Beach and Broward.

 But Florida’s pill pipeline reached far beyond those roadways.

 By 2010, Florida was the oxycodone drug dealer of choice for drug users and dealers in the
 Great Lakes, New England and Mid-Atlantic regions as well as the Southeast, DEA records
 show, an area spanning virtually every region east of the Mississippi.

 It wasn’t just that Florida guaranteed a flow of cheap oxycodone. For 10 years, key lawmakers
 and agency heads repeatedly looked the other way as crooked doctors and bogus clinics flooded
 almost half the nation with the highly addictive drug.

 In not cracking down for almost a decade, Florida extended by years the amount of time highly
 addictive oxycodone would be available to both first-time experimenters and addicts. It gave
 criminals the raw materials for trafficking.

 It gave Lockwood the OxyContin needed to feed his growing habit.

 It paved the way for his eventual jump to heroin.

 Jumping state lines

 Teenage high-school wrestling buddies in New Port Richey, Florida, were running oxycodone
 into Tennessee; they were paid with cash hidden in teddy bears. A Hillsborough County man
 mailed 17,000 pills to Glen Fork, West Virginia, a month’s supply for every man, woman and
 child in the tiny town.




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 A Boston Chinatown crime boss trafficked pills from Sunrise, Florida, into Massachusetts,
 New York, Rhode Island and South Carolina. Wellington twins and pill mill kingpins Chris
 and Jeff George oversaw one of the largest operations in the country from their five Palm
 Beach and Broward clinics, pushing oxycodone into Kentucky, Tennessee, Ohio and South
 Carolina.

 A Palm Bay man’s Puerto Rican family bought local pills destined for Holyoke. In Rhode
 Island, police pulled over a Lauderhill man caught speeding through Providence; they found
 903 oxycodone tablets and 56 morphine pills in the car.

 Senior citizen and Tulane business graduate Joel Shumrak funneled more than 1 million pills
 into eastern Kentucky from his South Florida and Georgia clinics, much of it headed for street
 sales — an estimated 20 percent of the illicit oxycodone in the entire state.

 Vanloads of pill seekers organized by “VIP buyers” traveled from Columbus, Ohio, to three
 Jacksonville clinics, where armed guards handled crowd control and doctors generated
 prescriptions totaling 3.2 million pills in six months. In Miami, Vinny Colangelo created 1,500
 internet website names to entice drug users throughout the nation to one of his six South
 Florida pain clinics or pharmacies.

 Even the mafia got in on the Florida oxy action: A Bonanno crime family associate oversaw a
 local crew stocking up on Palm Beach and Broward pain clinic oxycodone, upstreaming profits
 to the New York family.

 At times, it seemed almost no section of the country was free of Florida-supplied pills: When
 Olubenga Badamosi was arrested driving his Bentley Continental in Miami in 2011, the
 Oregon man was one of two traffickers overseeing a crew smuggling oxycodone from South
 Florida to Salt Lake City, Seattle and Denver as well as Oregon, Texas and even Alaska.

 Pharmacy delivers ‘pot of gold’

 It would be hard to overstate Florida’s role in feeding the country’s voracious appetite for
 oxycodone.

 Oxycodone 30-milligram tablets were favored by addicts. And in 2009 and 2010, roughly four
 out of every 10 of those pills were sold in Florida.




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 Small wonder: Of the nation’s top 100 oxycodone-buying doctors, 90 were in Florida.

 They were keeping busy.

 During the first six months of 2010, Ohio doctors and health-care practitioners bought the
 second-largest number of oxycodone doses in the country: Just under 1 million.

 Florida’s bought 40.8 million.

 It was 804 percent more than all other states combined.

 By early 2009, in Broward and Palm County alone, doctors were prescribing an estimated one
 million oxycodone pills a month.

 Pharmacies, too, ordered jaw-dropping numbers of pills from drug distributors, the
 middlemen between manufacturers and pharmacies.

 Cardinal Health, one of the nation’s biggest distributors, sold two CVS pharmacies in Sanford a
 combined 3.4 million doses of oxycodone, flooding the town of 53,000 with an average of
 283,000 oxycodone pills every month.

 West of Jupiter, a Walgreens drug distribution center was the single supplier of oxycodone in
 Florida. It sold 2.2 million tablets to a single Walgreens’ pharmacy in tiny Hudson, a roughly
 five-month supply for each of its 12,500 residents. It shipped more than 1.1 million pills to
 each of two Fort Pierce Walgreens pharmacies.

 For 40 days starting in late 2010, the distribution center shipped 3,271 bottles of oxycodone —
 327,100 doses of the drug — to a Port Richey Walgreens pharmacy, prompting a distribution
 manager to ask: “How can they even house this many bottles?”

 On average in 2011, a U.S. pharmacy bought 73,000 doses of oxycodone in a year.

 By contrast, a single Walgreens pharmacy in the Central Florida town of Oviedo bought
 169,700 doses of oxycodone in 30 days.




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 People on both sides of the counter knew what was going on: In a letter to the CEO of
 Walgreens, Oviedo’s police chief warned that people were walking out of the town’s two
 Walgreens stores and selling their drugs on the spot, crushing and snorting them, or — still in
 the pharmacy’s parking lot — injecting them.

 In Fort Pierce, a Walgreens pharmacist accidentally provided an extra 120 oxycodone pills to a
 customer. When the druggist called to ask that the man return the pills, the customer’s
 girlfriend bluntly responded that he was an addict, that he sold oxycodone and the 120 pills
 were “a pot of gold,” DEA records show.

 That was in September. The same man came back to the same Walgreens several more times
 in December and January with a prescription in hand.

 The pharmacy filled the known drug dealer’s prescriptions every time.

 Marketing to pain clinics

 Cincinnati-based Masters Pharmaceuticals Inc. was a middling-sized drug distributor selling
 oxycodone to Florida pharmacies.

 It sold to other customers in other states. But mostly, it sold to Florida: Oxycodone made up
 more than 60 percent of its drug sales in 2009 and 2010. Of its top 55 oxycodone customers, 44
 were in Florida.

 CEO Dennis Smith worried that the Florida-bound oxycodone was getting in the wrong
 hands, and a trip to Broward did nothing to ease his mind.

 “It was,” he later testified, “the Wild West of oxycodone prescribing.”

 Bus and park benches touted pain clinics. When Smith picked up and thumbed through City
 Beat, a free magazine, he found pages of ads for pain clinics.

 “It would show young people sitting around a pool and it named the pain clinic and say (sic)
 ‘we dispense on site,’ and that really hit home hard.”

 Smith stopped selling to pain clinics. But the company continued to shovel millions of
 oxycodone pills to Florida pharmacies.




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 The pharmacies would keep an eye out for excessive prescriptions written by pill mill doctors,
 Masters executives figured.

 But not all pharmacies were worrying about doctors at pain clinics. Some were courting them.

 Young, thin, tattooed customers

 In 2009, a small pharmacy off Lucerne Avenue in Lake Worth, Florida, had a history. It had
 been in business for 43 years. The owner and head pharmacist had been there for 32. It had
 shaded parking and a downtown location, a stone’s throw from the City Hall Annex.

 It also had a drug problem.

 When a Masters inspector visited, he was alarmed to find Tru Value Drugs bustling with a
 long line of young, thin, tattooed customers arriving in groups of 10 to pick up pills. There
 were signs in the pharmacy warning of limits on the number of oxycodone pills handed out.
 Even Mallinckrodt, an oxycodone manufacturer, was worried about the volume of its pill sales
 there.

 Of 300,000 doses of all drugs the small pharmacy dispensed in December 2008, 192,000 were
 for oxycodone 30 mg, the dosage preferred by traffickers and users alike.

 The huge oxycodone volume was no accident. The owner and head pharmacist, unidentified in
 DEA records, told a Masters inspector that the pharmacy “has pushed for this (narcotic)
 business with many area pain doctors. ”

 And, despite the torrent of oxycodone going out the door, the pharmacy owner expressed
 frustration that drug distributors were limiting the amount of narcotics they would sell to his
 pharmacy.

 Ohio to Florida and back

 Pharmacy after pharmacy benefited from the combination of Masters’ Ohio oxycodone
 business and Florida’s unregulated pill mills.




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 In Englewood, north of Fort Myers, the pharmacy owner filled prescriptions for six pain
 clinics — including clinics an hour’s drive away. A Masters inspector found cars from
 Tennessee and Kentucky in the parking lot and young men leaving the pharmacy carrying
 large trash bags.

 Superior Pharmacy not only filled oxycodone prescriptions for pain clinics; it shared waiting
 room space with a pain clinic in a Temple Terrace strip mall outside Tampa. Neither Masters
 nor Superior had so much as Googled the background of pain clinic doctors writing those
 prescriptions, the DEA later said.

 Had they done so, the DEA dryly noted, they “would likely have come across a press release”
 announcing one of the doctors, John Nkolo Mubang, had been arrested and charged with
 trafficking in prescription drugs.

 Hundreds of thousands of oxycodone pills were sent from Ohio distributors to Florida
 pharmacies. Unknown thousands of pills headed right back up to Ohio.

 When Ohio police burst into Christopher Thompson’s home outside Columbus, they found an
 assault rifle, $86,000 in cash and a cache of oxycodone from his Florida deals. A construction
 worker whose own pill habit started at age 14, Thompson oversaw a crew of 15 Ohio buyers
 who traveled to Florida to pick up oxycodone to resell in Central Ohio.

 Two hours to the west in Martin’s Ferry, David L. Kidd orchestrated a ring of buyers traveling
 to West Palm Beach and Central Florida to pick up oxycodone for resale on the streets of
 eastern Ohio and West Virginia.

 Doctors and pharmacies from Florida were complicit with Kidd’s ring in fueling Ohio’s opioid
 epidemic, wrote the U.S. attorney for West Virginia following Kidd’s 2011 arrest: “The steady
 flow of pain pills into the Ohio Valley from Florida must stop.”

 Road trips to death

 With more drugs came more deaths.

 In January 2010, Fort Lauderdale Dr. Lynn Averill started a seven-month oxycodone shopping
 spree; buying 437,880 oxycodone pills from drug distributors.




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 Matthew Koutouzis drove from Toms River, New Jersey, to see Averill. The 26-year-old
 collected prescriptions for 390 pills and overdosed two days later. Brian Moore traveled 13
 hours from his Laurel County, Kentucky, home to see Averill. He left with prescriptions for
 600 pills and also overdosed within 48 hours.

 Kenneth Hammond didn’t make it back to his Knoxville, Tennessee, home. He had a seizure
 after picking up prescriptions for 540 pills and died in an Ocala gas station parking lot.

 Keith Konkol didn’t make it back to Tennessee either. His body was dumped on the side of a
 remote South Carolina road after he overdosed in the back seat of a car the same day of his
 clinic visit. He had collected eight prescriptions totaling 720 doses of oxycodone, methadone,
 Soma and Xanax.

 Konkol had every reason to believe he would get those prescriptions: In three previous visits
 to the Plantation clinic, he had picked up prescriptions for 1,890 pills.

 Averill has pleaded not guilty to eight manslaughter charges. She is awaiting trial in Broward
 County.

 An estimated 60 percent of her patients were from out of state.

 Averill was just one doctor at one clinic. In 2010, the year Averill’s patients overdosed, Florida
 received applications to open 1,026 more pain clinics.

 An online message board advising drug users summed it up: “Just go anywhere in South
 Florida and look for a ‘pain management clinic.’ It shouldn’t be too hard; you can’t swing a dead
 cat without hitting one. Complain about anything from an excruciating back injury to a
 hangnail and they’ll set you right up.”

 Kentucky reined in its pill mills. It didn’t matter.

 Ohio, Delaware, North Carolina, Connecticut acted, too.

 No other state’s efforts counted. As long as Florida turned a blind eye to the pill mills and
 rogue doctors feeding the nation’s oxycodone habit, the pills flowed.




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 “There were folks down there, where if I had an opportunity to ... get my hands around their
 throat, I would have wrung their neck,” said Huntington Mayor Steve Williams. Deeply
 religious, Williams is hardly a violent man. His first act upon learning the scope of the drug
 problem in his town was to hold a prayer vigil.

 But, he said of Florida’s inaction, “There was total evidence as to what was happening.

 “It lays at the foot, in my opinion, of the public officials there that allowed it to continue on.”

 Jeb Bush backed solution

 One of the first dinners Florida Gov. Jeb Bush hosted after moving into the governor’s
 mansion in 1999 was a small one. Among those sitting down at the table with Bush and his
 wife, Columba, were Lt. Gov. Toni Jennings, state Sen. Locke Burt and James McDonough,
 who would become the state’s hard-nosed drug czar.

 There was an urgent topic on the agenda that night: the explosion of prescription painkillers.

 For the state’s first family, it may have been personal. Bush had talked publicly about one of his
 children’s struggle with addiction.

 By the time the meal ended, all had agreed on the need for establishing a prescription drug-
 monitoring program that would collect information and track prescriptions written for
 controlled substances, such as oxycodone.

 Absent a prescription drug-monitoring database, there was no way to know whether someone
 was “doctor shopping,” going from doctor to doctor, getting more and more prescriptions to
 feed their habit.

 And there was no way to know whether a doctor was overprescribing, key to pinpointing
 whether a pill mill was operating, and where.

 Similar databases had been adopted by more than a dozen states. It was being described as a
 “silver bullet” to curb overprescribing.

 Soon enough, $2 million to get the database up and running would be on the table — but it
 came with a catch.




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 AG poised to take action

 In 2001, OxyContin maker Purdue Pharma was fending off early criticism of its blockbuster
 painkiller. At issue was whether Purdue’s aggressive marketing campaign had misled doctors
 and patients alike.

 Purdue and three top executives later pleaded guilty to federal charges of illegally marketing
 the drug. Far from being safe and non-addictive, OxyContin was every bit as potent, and
 addictive, as morphine.

 But that was six years away. In 2001, towns in Maine reported an alarming uptick in crime tied
 to OxyContin. The first of several congressional hearings was ramping up. Critics and parents
 who lost children were piling on. Reporters were starting to write stories.

 In November, Florida Attorney General Bob Butterworth appeared poised to take on the
 company.

 Calling OxyContin street sales “a major threat to public health,” Butterworth told a state Board
 of Medicine committee that Purdue should consider temporarily taking the drug off the
 market.

 It wasn’t only traffickers concerning Butterworth. “The problem I believe, started with this
 company’s aggressive marketing to doctors in all fields,” he told the board, especially general
 practitioners unfamiliar with pain management.

 Butterworth opened an investigation. During the yearlong inquiry, 589 Floridians died after
 taking oxycodone.

 Almost a year to the day after he opened the investigation, the attorney general closed it. There
 was nothing to prosecute, the office concluded.

 A different approach would be dismissed. In 1995, Florida and other states charged Big
 Tobacco recklessly marketed a drug that left state-financed programs such as Medicaid
 struggling to pay for huge health bills. Private law firms were hired to handle the case. Florida
 settled for $13 billion.




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 “That was the classic example of how the state could do some good by hiring private
 attorneys,” said James Corrigan, a Panhandle medical malpractice attorney who said he had had
 “file drawers full of OxyContin clients.” They had been prescribed the drug for everything from
 surgery to hernias.

 Corrigan said he and a handful of attorneys met with Butterworth and other state officials.
 “We said, ‘Let us pursue them for you.’”

 They declined.

 Instead, Butterworth and Purdue had settled on a deal. Purdue agreed to pay $1.5 million for
 software needed to create the prescription-monitoring database favored by Bush, and another
 half million for education. In exchange, the company could not be prosecuted for any actions
 taken before the deal was struck.

 There was one catch. State lawmakers had to vote to create the prescription-monitoring
 program by 2004, or Purdue could keep its money.

 A political spat killed it.

 “And there was one person who was responsible,” said former state Sen. Burt, now an Ormond
 Beach insurance executive. “And it was Marco Rubio.”

 A rising state lawmaker in 2002, now-U.S. Sen. Marco Rubio had the clout to make or break
 the legislation. He had been one of two state House majority whips and was on the fast track to
 becoming House speaker.

 Rubio didn’t kill the 2002 bill out of opposition to prescription monitoring.

 It was politics.

 That year, Rubio favored a bill changing the Miami-Dade County charter, which failed to pass
 because of a single “no” vote in the Senate. Burt cast that vote.

 Angered by what he saw as Burt’s betrayal, Rubio killed the prescription drug monitoring bill.

 “When I found out he broke his word, it made the choice easy,” Rubio told The Miami Herald.




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 Only weeks later, Bush suppressed a sob as he discussed his daughter’s arrest for forging a
 prescription. Court-ordered to drug treatment and then briefly to jail, Noelle Bush survived
 her pill addiction.

 Others did not.

 Eighteen days after the Legislature adjourned without creating a prescription monitoring
 database, a West Palm Beach mother collapsed at the home of her ex-husband.

 Jamie Lea Massey overdosed on an unknown number of the 19,866 pills she had purchased in
 the preceding 10 months. Her ex had prescriptions of his own for 900 OxyContin and 2,300
 other pills.

 Five local doctors had written prescriptions for the drugs, each unaware the former husband
 was getting more drugs elsewhere.

 The 2004 deadline for greenlighting a monitoring system expired. So did Purdue’s million-
 dollar obligation to pay for it.

 Between 2002, the year the Legislature killed the database that could have identified doctor-
 shoppers, and late 2011, when the database finally came online, Floridians died after taking
 oxycodone or a related drug, oxymorphone.

 Broward County alone had 142 pain clinics by then, DEA records show. Palm Beach County
 was home to 111.

 “Not getting that bill through the Legislature resulted in Florida becoming the pill mill capital
 of the United States,” said Burt. “There was heartache for thousands of families beyond
 measure and it didn’t have to happen.”

 ‘All of the pain’s up here’

 The East Kentucky hills and valleys of Greenup County suit Keith Cooper, a lanky, long-haired
 undercover cop-turned-sheriff: “It’s a backwater. I tell people all the time I am a hick sheriff
 from a hick location.”

 But by 2011, the rural county and its sheriff had big-city problems.




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 Greenup is near the stretch of interstate highways that provided drug traffickers and users
 with a straight shot to Palm Beach and Broward pill mills. It’s less than an hour’s ride to
 Huntington Tri-State Airport, where a $27 ticket to Fort Lauderdale was a popular draw for
 dealers hoping to stock up.

 Arrests for Florida pills soon eclipsed local arrests for pot.

 “When we locked ’em up, we take all their pill bottles and all their paperwork, and we found
 maps to the doctor’s offices and everything,” recalled Cooper.

 “I called the (Florida) medical board and gave them a big list of doctors,” Cooper said. He called
 the state pharmacy board, too. He got no response.

 “So then I called the Attorney General’s Office and the Governor’s Office. I was calling them
 all, the whole state. Of course, I was talking to the state police the entire time.

 “I told them, all of the profits were down there. And all of the pain’s up here.”

 Nothing happened. Florida’s oxycodone pipeline continued to flow.

 On the other side of the law in Greenup, Mikey Frazier was banking on it.

 The Oxy Express

 Frazier was on scholarship to play baseball at a junior college in Chicago when he suffered a
 torn rotator cuff. Doctors prescribed Percocet, a pill containing oxycodone, in 2002.

 When doctors cut him off, he bought it on the street.

 In 2006, he moved to OxyContin, nearly pure oxycodone.

 In 2007, he gave his friends money to go to Florida and bring him back pills.

 “My buddy had a minivan and he would actually go down one week and take two to three
 people with him, and then the following week I’d go,” said Frazier.

 He still remembers the route: “I’d take 64 East to 77 South to 95 South. And it’s just a straight
 shot.”




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 Others followed suit. “What got everyone started was because the doctors around here won’t
 write a strong enough prescription,” he recalled.

 OxyContin and generic oxycodone still could be had — just not in Kentucky, which had a
 prescription drug monitoring database.

 In Florida, “there was none of that ... stuff that they check and find out what doctor you’ve
 been to,” said Frazier.

 “And one person does it, and then they tell a friend, and then they go do it, and that’s how it all
 really got started here.”

 Pills for the poor

 Tallahassee wasn’t just ignoring the epidemic.

 It was financing it.

 Handcuffed and booked into jail on charges of operating a pain clinic without a license,
 emergency room specialist Dr. William Crumbley had penned prescriptions for 173,699 doses
 of oxycodone between 2011 and 2012; roughly 237 pills a day.

 All of it was paid for by Medicaid, Florida’s taxpayer-financed health program for the state’s
 neediest and sickest citizens.

 In 24 months, taxpayers footed the bill for more than 49 million doses of pills containing
 oxycodone, The Palm Beach Post found in 2012, even though there were only 1.36 million
 Medicaid patients. Half were children.

 The sheer volume of pills was a tip-off that the drugs were not all intended for legitimate use.
 So were arrest reports dating to 2001. One man had used used his 7-year-old son’s Medicaid
 number to doctor-shop for OxyContin. A Miramar pharmacist who billed Medicaid $3.7
 million for OxyContin pills was charged with paying Medicaid patients $150 each to use their
 IDs. Medicaid paid for more than $300,000 to fill Dr. James Graves’ OxyContin prescriptions;
 Graves was the first doctor in the nation convicted of killing patients by overprescribing the
 drug.

 But in 2012, then-AHCA Secretary Elizabeth Dudek told The Post, the 49 million doses of



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 oxycodone translated to only about 549,000 prescriptions.

 However, addiction risk for people taking high doses of oxycodone begins climbing after just
 three days, a recent study concluded. And most people on Florida Medicaid getting oxycodone
 prescriptions were getting much more than a few days worth; an average nine months worth
 of pills, Dudek said.

 Further, pill mill doctors prescribed one million of those pills:

 ‒ Doctors working for the George twins’ trafficking empire prescribed at least 102,081
 oxycodone pills before it collapsed in 2010.

 ‒ Working from a Delray Beach pain clinic founded by a convicted drug smuggler, Dr. Zvi
 Harry Perper was arrested on trafficking charges, but not before he wrote prescriptions for
 115,977 doses of oxycodone in 90 days.

 ‒ In Lake Worth, Dr. Cesar Deleon was arrested as part of a DEA pill mill sweep and charged
 with 55 counts of illegally distributing drugs. Deleon wrote orders for 20,302 oxycodone pills
 for Medicaid patients.

 ‒ Miami internist Dr. Selwyn Carrington authorized 32,411 doses of oxycodone for Medicaid
 patients in just two years. He was busted for signing his name to hundreds of prescriptions.

 Further, Florida wasn’t in any hurry to stop doctors linked to pill mills from continuing to
 prescribe.

 Perper was busted at a Delray Beach pill mill operated by a former felon in 2011. The state did
 not act against his license until 2014. Carrington was arrested for overprescribing in March
 2011; the state’s emergency order to suspend his license was signed months after he had pled
 guilty in 2012. Joseph M. Hernandez was writing prescriptions from his car, a veritable pill
 mill on wheels, when he was busted in February 2010 on charges of trafficking in oxycodone.

 That didn’t stop him, and neither did the state.

 Florida’s Department of Health didn’t file paperwork to restrict his license for almost a year
 and a half.

 During that time, Hernandez wrote oxycodone prescriptions for Medicaid patients totaling



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 258,940 doses; representing a taxpayer-footed bill of $130,165.

 Yet even as the Department of Health was contributing to the flood of oxycodone to poor
 people, Florida’s Department of Children and Families was making it harder for those who
 became addicted to get off the drug.

 A pressured governor

 The DEA all but wrung its hands over Florida’s lethal inaction.

 In a 2010 report, the agency ticked off a devil’s brew of regulatory loopholes: Florida’s Health
 Department regulated health-care professionals but not pain clinics. AHCA-regulated pain
 clinics that accepted insurance, but illegal clinics were most often on a cash-only basis.

 In early 2011, as Gov. Rick Scott was taking office for the first time, prescription pills were
 claiming an estimated six Florida lives a day. In the handful of Appalachian states where
 traffickers were bringing back South Florida pills, it was worse. Ohio’s death rate for
 oxycodone and similar opioids had doubled in 24 months. Kentucky’s was up by more than 50
 percent. And in West Virginia, home to hard-hit Huntington, death rates tied to pill mill drugs
 had climbed by 341 percent.

 True, in 2009, the Legislature had finally passed a prescription drug monitoring database law.
 But lawmakers refused to pay for it. It became embroiled in a bid dispute, stalling its launch.

 Within weeks of being sworn in, Scott abolished Florida’s Office of Drug Control, fired the
 state’s drug czar, announced plans to drive a final stake in the heart of the database and
 rebuffed Purdue Pharma’s renewed offer to help pay for it.

 Scott, a tea-party conservative, cited privacy concerns, expressed skepticism it would work and
 raised the possibility taxpayers would be left with a $500,000-a-year bill to operate it.

 The database had been ignored, delayed and unfunded for years. It still had fans, though. In
 states on the receiving end of the Florida pill pipeline and among federal officials, Scott’s
 resistance triggered outrage.




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 In Kentucky, where as much as 60 percent of the illicit oxycodone in that state flowed from
 Florida, Lt. Gov. Daniel Mongiardo proposed erecting billboards at the state line: “Welcome to
 the Oxy Tourism Capital of the World.”

 U.S. House Appropriations Chairman Hal Rodgers, also from Kentucky, twice wrote Scott.
 “Canceling Florida’s prescription drug monitoring program is equal to firing firefighters while
 your house is ablaze,” he wrote.

 R. Gil Kerlikowske, director of the White House Office of National Drug Control Policy, asked
 to meet with Scott. So did DEA Administrator Michele Leonhart.

 Three U.S. senators — New York’s Chuck Schumer, West Virginia’s Joe Manchin and Rhode
 Island’s Sheldon Whitehouse — joined Sen. Bill Nelson of Florida in pointing out that the pills
 weren’t just a Florida problem: There were “serious ramifications for the rest of the country,”
 wrote Nelson of Scott’s reluctance to crack down.

 By then, the DEA had formally pinpointed Palm Beach, Broward and Miami-Dade counties as
 the nation’s biggest hub for trafficking pills into other states.

 Florida’s failure to adopt the drug monitoring database, and Scott’s determination to kill it, was
 so out of step with the rest of the country that drug dealers and law enforcement alike
 speculated that Scott had ulterior motives for keeping the pill pipeline going.

 Everyone knew prescription monitoring was going to kill the pill smuggling business, said a
 corrupt Florida Highway Patrol trooper as he drove a load of pills out of Florida, according to a
 federal lawsuit. Talking to the confidential informant in the seat next to him, the trooper
 speculated someone in Tallahassee must have a piece of the action, “because (Scott) was so
 adamant about not putting that system in place. Right?”

 In Greenup, an infuriated Cooper told a reporter, “In my opinion, (Scott’s) getting money from
 somewhere. He has to be.”

 A few days later, recalled Cooper, “A lieutenant with the state police I’d been talking to down
 there called me, said, ‘Man, just a head’s up: I wouldn’t come to Florida.’”




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 Attorney General Pam Bondi, a Scott ally tirelessly championing the database, kept it from
 being killed off in the Legislature. And Scott, whose brother has struggled with drugs, was
 open to changing his mind. Appearing before a congressional committee, Scott abruptly
 backed off his pledge to kill the program. He signed off on a touch new package laws cracking
 down on pill mills.

 In September 2011, the database went live. In October, doctors and lawmakers could look up
 their patients’ drug history for the first time.

 Deaths, treatment admissions and emergency room visits linked to oxycodone and similar
 drugs started dropping within weeks, in both Florida and many states where Florida
 previously had supplied oxycodone.

 But worse was coming.

 Reporter Lawrence Mower, staff researcher Melanie Mena and visual journalist Thomas Cordy
 contributed to this story.




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